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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION
                           CASE NO. 1:24-cv-251

MAKEDA EVANS,

       Plaintiff,

vs.

MI APA MANAGEMENT, LLC,

       Defendant.
                                     /


                                     COMPLAINT

       Plaintiff MAKEDA EVANS, by and through undersigned counsel, sues

Defendant MI APA MANAGEMENT, LLC, a Florida Limited Liability Company,

and alleges as follows:

       1.     This is an action for declaratory and injunctive relief, attorney’s fees,

costs, and litigation expenses for unlawful disability discrimination in violation of

Title III of the Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”),

as amended, and 28 C.F.R. Part 36.

       2.     This Court has jurisdiction over this case based on federal question

jurisdiction, 28 U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks

declaratory and injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

       3.     Venue is proper in this Court as all actions complained of herein and

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injuries and damages suffered occurred in the Northern District of Florida.

      4.     Plaintiff MAKEDA EVANS is a resident of Alachua County, Florida, is

sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008,

42 U.S.C. §12101 (“ADAAA”).

      5.     Plaintiff is, and at all relevant times, has been blind and visually

disabled in that Plaintiff suffers from Retinitis pigmentosa and Bardet-Biedl

syndrome type 1, which is a permanent eye and medical condition that substantially

and significantly impairs her vision and limits her ability to see. Plaintiff thus is

substantially limited in performing one or more major life activities, including, but

not limited to, seeing, accurately visualizing her world, and adequately traversing

obstacles. As such, she is a member of a protected class under the ADA, 42 U.S.C.

§12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101,

et seq., and 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of

similarly situated disabled persons and is a “tester” for the purposes of asserting her

civil rights and monitoring, ensuring, and determining whether places of public

accommodation and/or their respective and associated websites are in compliance

with the ADA and any other applicable disability laws, regulations, and ordinances.

      6.     Based on a 2010 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually impaired, including 2.0 million who are blind.

      7.     Because she is blind, Plaintiff cannot use her computer without the

assistance of appropriate and available auxiliary aids, screen reader software, and/or
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other technology and assistance. Screen reader software translates the visual internet

into an auditory equivalent. At a rapid pace, the software reads the content of a

webpage to the user. “The screen reading software uses auditory cues to allow a

visually impaired user to effectively use websites. For example, when using the visual

internet, a seeing user learns that a link may be ‘clicked,’ which will bring her to

another webpage, through visual cues, such as a change in the color of the text (often

text is turned from black to blue). When the sighted user's cursor hovers over the link,

it changes from an arrow symbol to a hand. The screen reading software uses

auditory -- rather than visual -- cues to relay this same information. When a sight

impaired individual reaches a link that may be ‘clicked on,’ the software reads the

link to the user, and after reading the text of the link says the word

‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

visually impaired user can navigate a website by listening and responding with her

keyboard.” Andrews v. Blick Art Materials, LLC, 286 F.Supp.3d 365, 374

(E.D.N.Y.2017).

      8.     Defendant is a Florida Limited Liability Company authorized to do

business and doing business in the State of Florida. Defendant owns, operates, and/or

controls a chain of 4 U.S.-based cafés offering a variety of services to deliver

authentic Cuban cuisine, including traditional dishes, pastries, and expertly crafted

coffee, including the café Plaintiff intended to patronize in the near future (and as

early as December 2024 and/or early January 2025) which is located at 114
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Southwest 34th Street, Gainesville, FL 32607.

      9.     Plaintiff’s blindness limits Plaintiff in the performance of major life

activities, including sight, and Plaintiff requires assistive technologies, auxiliary

aids, and services for effective communication, including communication in

connection with her use of a computer.

      10.    Plaintiff frequently accesses the internet. Because Plaintiff is blind, to

effectively communicate and comprehend information available on the internet and

thereby access and comprehend websites, Plaintiff uses commercially available

screen reader software to interface with the various websites.

      11.    At all times material hereto, Defendant was and still is an organization

that owns, operates, and/or controls a chain of 4 U.S.-based cafés under the name

“Mi Apá Latin Café”. Each “Mi Apá Latin Café” is open to the public. As the owner,

operator, and/or controller of these cafés, Defendant is defined as a place of “public

accommodation” within the meaning of the ADA because Defendant is a private

entity which owns, operates, and/or controls “a bakery, grocery store, clothing store,

hardware store, shopping center, or other sales or rental establishment,” per 42

U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5).

      12.    Because Defendant is a café open to the public, each of Defendant’s

physical locations is a place of public accommodation subject to the requirements of

the ADA, 42 U.S.C. §12182, §12181(7), and its implementing regulations, 28 C.F.R.

Part 36.
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      13.    Defendant also owns, controls, maintains, and/or operates an adjunct

website, https://www.miapalatincafe.com/ (the “Website”). Some functions of the

Website include providing the public with information about the locations, hours,

and contact details of the Defendant’s cafés, as well as presenting various menu

options along with their prices and ingredients. In addition, the Website allows users

to explore various services available at the selected café, including pickup, delivery,

and catering, schedule the service by choosing a preferred date and time, select

required and additional options for the dishes, add special instructions, learn about

available rewards and programs, sign up for a more convenient ordering experience

and receive bonus points, customize and purchase gift cards, check the balance of

the gift cards, read customer reviews, explore information about private room rental,

read the rental policy, view the team, explore career opportunities, and get in touch

with the company by submitting an online form.

      14.    The Website also services Defendant’s physical locations by providing

information about the locations and their working hours, available services, menu

options with their prices, private room booking details, and other information that

Defendant is interested in communicating to its customers.

      15.    Because the Website allows the public the ability to secure information

about the locations of Defendant’s physical locations, explore various menu options

along with their prices and ingredients, discover services available at the selected

café, including pickup, delivery, and catering, schedule the service by choosing a
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preferred date and time, select required and additional options for the dishes, add

special instructions, learn about available rewards and programs, sign up for a more

convenient ordering experience and receive bonus points, customize and purchase

gift cards, check the balance of the gift cards, read customer reviews, explore

information about private room rental, read the rental policy, view the team, explore

career opportunities, and get in touch with the company by submitting an online

form, the Website has a nexus to, and is an extension of and gateway to, the goods,

services, privileges, and advantages of Defendant’s physical locations, which are

places of public accommodation under the ADA. As an extension of and service,

privilege, and advantage provided by a place of public accommodation as defined

under the ADA, the Website is an extension of the services, privileges, and

advantages made available to the general public by Defendant at and through its

brick-and-mortar locations and businesses. Furthermore, the Website is a necessary

service and privilege of Defendant’s physical locations, as it serves as a crucial point

of sale for the cafés. It allows users to place orders for the Defendant’s offerings,

which are also available for purchase at, from, and through its physical locations.

      16.    Because the public can view and use Defendant’s services through the

Website, thus the Website acts as a critical point of access for Defendant’s services

that are also available at Defendant’s physical locations, explore various menu

options along with their prices and ingredients, discover services available at the

selected café, including pickup, delivery, and catering, schedule the service by
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choosing a preferred date and time, select required and additional options for the

dishes, add special instructions, learn about available rewards and programs, sign up

for a more convenient ordering experience and receive bonus points, customize and

purchase gift cards, check the balance of the gift cards, read customer reviews,

explore information about private room rental, read the rental policy, view the team,

explore career opportunities, and get in touch with the company by submitting an

online form, the Website is an extension of, and gateway to the physical locations,

which are places of public accommodation pursuant to the ADA, 42 U.S.C.

§12181(7)(E). As such, the Website is a necessary service, privilege, and advantage

of Defendant’s brick-and-mortar locations that must comply with all requirements of

the ADA, must not discriminate against individuals with visual disabilities, and must

not deny those individuals the same full and equal access to and enjoyment of the

goods, services, privileges, and advantages afforded the non-visually disabled public

both online and in the physical locations.

      17.    At all times material hereto, Defendant was and still is an organization

owning, operating, and/or controlling the Website. Since the Website is open to

the public through the internet, by this nexus the Website is an intangible service,

privilege, and advantage of Defendant’s brick-and-mortar locations that must comply

with all requirements of the ADA, must not discriminate against individuals with

visual disabilities, and must not deny those individuals the same full and equal access

to and enjoyment of the goods, services, privileges, and advantages as are afforded
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the non-visually disabled public both online and in the physical locations. As such,

Defendant has subjected itself and the Website to the requirements of the ADA.

      18.    Plaintiff is and/or has been a customer who is interested in patronizing,

and intends to patronize in the near future once the Website’s access barriers are

removed or remedied (and as early as December 2024 and/or early January 2025),

Defendant’s café located at 114 Southwest 34th Street, Gainesville, FL 32607, and

to search for brick-and-mortar locations that are in closest proximity to Plaintiff,

explore various menu options along with their prices and ingredients, discover

services available at the selected café, including pickup, delivery, and catering,

schedule the service by choosing a preferred date and time, select additional options

for the dishes, add special instructions, learn about available rewards and programs,

sign up for a more convenient ordering experience and receive bonus points,

customize and purchase gift cards, read customer reviews, explore information about

private room rental, read the rental policy, view the team, and get in touch with the

company by submitting an online form. In the alternative, Plaintiff intends to

monitor the Website in the near future (and as early December 2024 and/or early

January 2025) as a tester to ascertain whether it has been updated to interact properly

with screen reader software.

      19.    The opportunity to find information about the locations, hours and

contact details of Defendant’s physical locations, explore various menu options

along with their prices and ingredients, discover services available at the selected
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café, including pickup, delivery, and catering, schedule the service by choosing a

preferred date and time, select required and additional options for the dishes, add

special instructions, learn about available rewards and programs, sign up for a more

convenient ordering experience and receive bonus points, customize and purchase

gift cards, check the balance of the gift cards, read customer reviews, explore

information about private room rental, read the rental policy, view the team, explore

career opportunities, and get in touch with the company by submitting an online

form, and more are important and necessary accommodations for Plaintiff because

traveling outside of Plaintiff’s home as a blind individual is often a difficult,

hazardous, frightening, frustrating, and confusing experience. Defendant has not

provided its business information in any other digital format that is accessible for use

by blind and visually disabled individuals using screen reader software.

      20.    Like many consumers, Plaintiff accesses a number of websites at a time

to help plan her café visits and to compare offerings, prices, services, and

promotions. Plaintiff may look at several dozen websites to compare available

menus, services, and prices.

      21.    Beginning in October 2024, Plaintiff attempted on a number of

occasions to utilize the Website to browse through the services and online offers to

educate herself about the services, menu items, special offers, brick-and-mortar

locations, operating hours, and menu item pricing, with the intent to place an online

order. Plaintiff also attempted to access and utilize the Website in her capacity as a
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tester to determine whether it was accessible to blind and visually disabled persons

such as herself who use screen reader software to access and navigate company

websites.

      22.   Plaintiff enjoys flavorful food with fresh ingredients and this is why she

often makes online orders or visits restaurants offering fusion cuisine. To explore

new meal options and try new dishes and drinks, she decided to search for new places

where she could order dishes with Latin influences. On or about October 2, 2024,

she used the JAWS screen reader to visit Defendant’s website. However, upon

accessing the site, Plaintiff encountered multiple accessibility issues that made

navigation inefficient. Several elements were poorly labeled, such as the 'edit' and

'remove' buttons, which lacked context. The screen reader failed to announce roles

for other interactive elements or, in some cases, the elements were entirely

unlabeled, including the menu and catering submenus on the menu and ordering

pages. Additionally, the phone numbers for each cafe listed in the footer were

inaccessible to screen reader users. When she attempted to add a desired menu item

to the cart, the screen reader did not announce whether the product had been

successfully added. As a result, she became confused and could not proceed with the

checkout process.

      23.   Plaintiff utilizes available screen reader software that allows

individuals who are blind and visually disabled to communicate with websites.

However, Defendant’s Website contains access barriers that prevent free and full use
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by blind and visually disabled individuals using keyboards and available screen

reader software. These barriers are pervasive and include, but are not limited to:

      a. Heading hierarchy on the home page was not properly defined, and there
      was missing heading level 1. Legally blind users tend to find specific content
      based on the logical organization of the page. Heading level 1 can provide
      important indication of what the page is about and outline its content;

      b. The landmark on the home page failed to describe the section of content
      and did not help users orient themselves within the web page or locate specific
      information. A descriptive landmark helps assistive technology users by
      ensuring it is meaningful when read out of context and assists in navigating
      and understanding the purpose of that section of the page;

      c. Plaintiff encountered incorrectly marked-up lists in the submenus of the
      navigation. While these lists had the visual appearance of proper lists, they
      were programmatically formatted incorrectly and failed to announce the
      number of elements included. As a result, Plaintiff was unaware that different
      links were part of the same submenu;

      d. Several links had ambiguous texts that were unclear to Plaintiff. Lack of
      detailed description of the link target and destination page made it difficult for
      Plaintiff to perceive their purpose. For example, links without context, such
      as "Join Now" and "Buy Now," were insufficiently descriptive;

      e. Plaintiff tried to follow the links from the website and received no prior
      warning that the links opened new windows. As a result, Plaintiff
      unsuccessfully tried to use the “Back” function of the browser to go to the
      previous page and became disoriented;

      f. The telephone numbers on the website were presented in plain text, and
      therefore were non-interactive and inaccessible to the screen reader software.
      As a result, Plaintiff was unable to contact customer support to clarify details
      about menu items or the ordering procedure;

      g. Links led to other websites and did not indicate that they were external.
      Plaintiff was disoriented on another website. The link text failed to warn
      legally blind customers about the significant change of the context;

      h. Interactive elements on the menu and ordering pages had inappropriate and
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  non-descriptive names. Plaintiff could not identify the purpose of the
  interactive elements. For example, the "Menu" and "Catering" buttons for
  opening submenus were simply announced as "list submenu" without any
  clear labels;

  i. The interactive elements in the "Menu" and "Catering" submenus on the
  menu and ordering pages did not announce their role. As a result, Plaintiff
  could not identify the purpose of these interactive elements;

  j. The Website did not maintain the correct keyboard tabbing (reading) order,
  causing Plaintiff to perceive a different version of the web page. The layout
  had an incorrect sequence and order of interactive elements. On the ordering
  and menu pages, when selecting a category in the "Menu" submenu, the page
  scrolls to the corresponding section, however, the focus is incorrectly moved
  to the beginning of the page;

  k. Plaintiff was not aware of the search suggestions after search term was
  entered into the Search bar on the ordering page. The status update, such as a
  brief text message about search suggestions, was not provided even though
  the content of the page was updated and search suggestions were displayed.
  Without appropriate status message legally blind users do not know that
  search suggestions appeared on the screen;

  l. Non-interactive element was marked up as keyboard focusable element
  (tabindex=“0” was applied), Plaintiff could not determine the purpose of this
  element. Specifically, the quantity field on the menu items was assigned
  tabindex=“0” even though the element was not interactive;

  m. Unclear and ambiguous labels for form fields impeded Plaintiff from
  correct information input. Plaintiff was unaware of the purpose of the
  interactive element and could not understand what information was required;

  n. Plaintiff was unable to determine if the form fields were mandatory
  (“Required”). The lack of detailed instructions while filling in the form,
  prevented Plaintiff from successfully submission of personal information.




  24.   Accordingly, Defendant’s Website was incompatible with Plaintiff’s

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screen reading software and keyboard.

      25.    The fact that Plaintiff could not communicate with or within the

Website left Plaintiff feeling excluded, frustrated, and humiliated, and gave Plaintiff

a sense of isolation and segregation, as Plaintiff is unable to participate in the same

online experience, with the same access to the offers and services, as provided at the

Website and in the physical locations as the non-visually disabled public.

      26.    Plaintiff desires and intends, in the near future once the Website’s

access barriers are removed or remedied, to patronize Defendant’s café located at

114 Southwest 34th Street, Gainesville, FL 32607, and to use the Website, but

Plaintiff is presently unable to do so as Plaintiff is unable to effectively communicate

with Defendant due to Plaintiff’s blindness and the Website’s access barriers.

Alternatively, as a tester using screen reader software, Plaintiff is unable to

effectively access, navigate, and communicate with Defendant through the Website

due to Plaintiff’s blindness and the Website’s access barriers. Thus, Plaintiff and

others who are blind and with visual disabilities will suffer continuous and ongoing

harm from Defendant’s intentional acts, omissions, policies, and practices as set

forth herein unless properly enjoined by this Court.

      27.    Because of the nexus between Defendant’s physical locations and the

Website, and the fact that the Website clearly provides support for and is connected

to Defendant’s physical locations for its operation and use, the Website is an

intangible service, privilege, and advantage of Defendant’s brick-and-mortar
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locations that must comply with all requirements of the ADA, must not discriminate

against individuals with disabilities, and must not deny those individuals the same

full and equal access to and enjoyment of the goods, services, privileges, and

advantages as afforded the non-visually disabled public both online and in the

physical locations, which are places of public accommodation subject to the

requirements of the ADA.

       28.      On information and belief, Defendant has not initiated a Web

Accessibility Policy to ensure full and equal use of the Website by individuals with

disabilities.

       29.      On information and belief, Defendant has not instituted a Web

Accessibility Committee to ensure full and equal use of Website by individuals with

disabilities.

       30.      On information and belief, Defendant has not designated an employee

as a Web Accessibility Coordinator to ensure full and equal use of the Website by

individuals with disabilities.

       31.      On information and belief, Defendant has not instituted a Web

Accessibility User Accessibility Testing Group to ensure full and equal use of the

Website by individuals with disabilities.

       32.      On information and belief, Defendant has not instituted a User

Accessibility Testing Group to ensure full and equal use of the Website by

individuals with disabilities
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      33.    On information and belief, Defendant has not instituted a Bug Fix

Priority Policy.

      34.    On information and belief, Defendant has not instituted an Automated

Web Accessibility Testing program.

      35.    Defendant has not created and instituted a useful and effective

Specialized Customer Assistance line or service or email contact mode for customer

assistance for the visually disabled.

      36.    Defendant has not created and instituted on the Website a useful and

effective page for individuals with disabilities, nor displayed a proper link and

information hotline, nor created a proper information portal explaining when and how

Defendant will have the Website, applications, and digital assets accessible to the

visually disabled and/or blind communities.

      37.    The Website does not meet the Web Content Accessibility Guidelines

(“WCAG”) 2.2 Level AA or higher versions of web accessibility.

      38.    Defendant has not disclosed to the public any intended audits, changes,

or lawsuits to correct the inaccessibility of the Website to visually disabled

individuals who want the safety and privacy of using Defendant’s services offered

on the Website and in the physical locations from their homes.

      39.    Defendant thus has not provided full and equal access to, and

enjoyment of, the goods, services, facilities, privileges, advantages, and

accommodations provided by and through the Website and the cafés in contravention
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of the ADA.

      40.     Public accommodations under the ADA must ensure that their places

of public accommodation provide effective communication for all members of the

general public, including individuals with visual disabilities such as Plaintiff.

      41.     The broad mandate of the ADA is to provide equal opportunity for

individuals with disabilities to participate in and benefit from all aspects of American

civic and economic life. That mandate extends to internet e-commerce websites such

as the Website at issue in the instant action.

      42.     Defendant is, and at all relevant times has been, aware of the barriers to

effective communication within the Website which prevent individuals with visual

disabilities from the means to comprehend information presented therein.

      43.     Defendant is, and at all relevant times has been, aware of the need to

provide full and equal access to all visitors to the Website.

      44.     The barriers that exist on the Website result in discriminatory and

unequal treatment of individuals with visual disabilities, including Plaintiff.

      45.     Plaintiff has no plain, adequate, or complete remedy at law to redress

the wrongs alleged hereinabove, and this suit for declaratory judgment and injunctive

relief is her only means to secure adequate and complete redress from Defendant’s

unlawful and discriminatory practices in connection with the Website’s access and

operation.

      46.     Notice to Defendant is not required because of Defendant’s failure to
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cure the violations.

      47.    Enforcement of Plaintiff’s rights under the ADA is right and just

pursuant to 28 U.S.C. §§2201 and 2202.

      48.    Plaintiff has retained the undersigned attorneys to represent her in this

case and has agreed to pay them a reasonable fee for their services.

                       COUNT I – VIOLATION OF THE ADA

      49.    Plaintiff re-alleges paragraphs 1 through 48 as if set forth fully herein.

      50.    Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public

accommodation under the ADA and thus is subject to the ADA.

      51.    Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the

ADA because it provides the general public with the ability to find information about

the locations, hours and contact details of Defendant’s physical locations, explore

various menu options along with their prices and ingredients, discover services

available at the selected café, including pickup, delivery, and catering, schedule the

service by choosing a preferred date and time, select required and additional options

for the dishes, add special instructions, learn about available rewards and programs,

sign up for a more convenient ordering experience and receive bonus points,

customize and purchase gift cards, check the balance of the gift cards, read customer

reviews, explore information about private room rental, read the rental policy, view

the team, explore career opportunities, and get in touch with the company by

submitting an online form. The Website thus is an extension of, gateway to, and
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intangible service, privilege, and advantage of Defendant’s cafés. Further, the

Website serves to augment Defendant’s physical locations by providing the public

information about the cafés and by educating the public as to Defendant’s available

services offered through the Website and in, from, and through the physical

locations.

      52.    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is

unlawful discrimination to deny individuals with disabilities or a class of individuals

with disabilities an opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodation, which is equal to the

opportunities afforded to other individuals.

      53.    Specifically,   under    Title    III   of   the    ADA,     42   U.S.C.

§12182(b)(2)(A)(II), unlawful discrimination includes, among other things, “a

failure to make reasonable modifications in policies, practices, or procedures, when

such modifications are necessary to afford such goods, services, facilities,

privileges, advantages, or accommodations to individuals with disabilities, unless

the entity can demonstrate that making such modifications would fundamentally

alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”

      54.    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III),

unlawful discrimination includes, among other things, “a failure to take such steps,

as may be necessary to ensure that no individual with a disability is excluded, denied
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services, segregated or otherwise treated differently than other individuals because

of the absence of auxiliary aids and services, unless the entity can demonstrate that

taking such steps would fundamentally alter the nature of the good, service, facility,

privilege, advantage, or accommodation being offered or would result in an undue

burden.”

      55.    Defendant’s Website must comply with the ADA, but it does not as

specifically alleged hereinabove and below.

      56.    Because of the inaccessibility of the Website, individuals with visual

disabilities are denied full and equal access to, and enjoyment of, the goods,

information, and services that Defendant has made available to the public on the

Website and in the physical locations in violation of 42 U.S.C. §12101, et seq, and

as prohibited by 42 U.S.C. §12182, et seq.

      57.    More violations may be present on other pages of the Website, which

can and will be determined and proven through the discovery process in this case.

      58.    Further, the Website does not offer or include the universal symbol for

the disabled that would permit disabled individuals to access the Website’s

accessibility information and accessibility facts.

      59.    There are readily available, well-established guidelines on the internet

for making websites accessible to the blind and visually disabled. These guidelines

have been followed by other large business entities in making their websites

accessible. Examples of such guidelines include, but are not limited to, ensuring that
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all links have distinctive and unambiguous link text, maintaining an adequate focus

order throughout the website, and ensuring that interactive elements are properly

labeled. Incorporating such basic components to make the Website accessible would

neither fundamentally alter the nature of Defendant’s business nor would it result in

an undue burden to Defendant.

      60.    Defendant has violated the ADA -- and continues to violate the ADA --

by denying access to the Website by individuals such as Plaintiff with visual

disabilities who require the assistance of screen reader software to comprehend and

access internet websites. Defendant has failed to take any prompt and equitable steps

to remedy its discriminatory conduct. These violations within the Website are

ongoing.

      61.    The ADA requires that public accommodations and places of public

accommodation ensure that communication is effective.

      62.    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services

include “voice, text, and video-based telecommunications products and systems”.

Indeed, 28 C.F.R. §36.303(b)(2) specifically states that screen reader software is an

effective method of making visually delivered material available to individuals who

are blind or have low vision.

      63.    According to 28 C.F.R. §36.303(c), public accommodations must

furnish appropriate auxiliary aids and services where necessary to ensure effective

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communication with individuals with disabilities: “In order to be effective, auxiliary

aids and services must be provided in accessible formats, in a timely manner, and in

such a way as to protect the privacy and independence of the individual with a

disability,” 28 C.F.R. §36.303(c)(1)(ii).

      64.    Part 36 of Title 28 of the C.F.R. was designed and is implemented to

effectuate subtitle A of Title III of the ADA, which prohibits discrimination on the

basis of disability by public accommodations, and requires places of public

accommodation to be designed, constructed, and altered in compliance with the

accessibility standards established by Part 36.

      65.    As alleged hereinabove, the Website has not been designed to interface

with the widely and readily available technologies that can be used to ensure

effective communication and thus violates the ADA.

      66.    As a direct and proximate result of Defendant’s failure to provide an

ADA compliant Website, with a nexus to its brick-and-mortar locations, Plaintiff

has suffered an injury in fact by being denied full and equal access to, enjoyment of,

and communication with Defendant’s Website and its physical locations.

      67.    Because of the inadequate development and administration of the

Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28

C.F.R. §36.303, to remedy the ongoing disability discrimination.

      68.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
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grant Plaintiff appropriate and necessary injunctive relief, including an order to:

      a) Require Defendant to adopt and implement a web accessibility policy to

make publicly available, and directly link from the homepage of the Website, a

functional statement of the Defendant’s policy to ensure persons with disabilities

have full and equal access to and enjoyment of the goods, services, facilities,

privileges, advantages, and accommodations of the physical locations through the

Website.

      b) Require Defendant to take the necessary steps to make the Website readily

accessible to and usable by blind and visually disabled users, and during that time

period prior to the Website being made readily accessible, provide an alternative

method for individuals with visual disabilities to access the information available on

the Website until such time that the requisite modifications are made, and

      c) Require Defendant to provide the appropriate auxiliary aids such that

individuals with visual disabilities will be able to effectively communicate with the

Website for purposes of viewing and locating Defendant’s physical locations and

becoming informed of and purchasing Defendant’s services, and during that time

period prior to the Website being designed to permit individuals with visual

disabilities to effectively communicate, to provide an alternative method for

individuals with visual disabilities to effectively communicate for such goods and

services made available to the general public through the Website and in the physical

locations.
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      69.      Plaintiff is entitled to recover her reasonable attorney’s fees, costs, and

expenses pursuant to the ADA. To that end, Plaintiff has been obligated to retain the

undersigned counsel for the filing and prosecution of this action and has agreed to

pay them a reasonable fee for their services.

      WHEREFORE, Plaintiff requests entry of judgment in her favor and against

Defendant for the following relief:

      A. A declaration that Defendant’s Website is in violation of the ADA;

      B. An Order requiring Defendant, by a date certain, to update the Website,

            and continue to monitor and update the Website on an ongoing basis, to

            remove barriers in order that individuals with visual disabilities can access,

            and continue to access, the Website and effectively communicate with the

            Website to the full extent required by Title III of the ADA;

      C. An Order requiring Defendant, by a date certain, to clearly display the

            universal disabled logo within the Website, wherein the logo1 would lead

            to a page which would state Defendant’s accessibility information, facts,

            policies, and accommodations. Such a clear display of the disabled logo is

            to ensure that individuals who are disabled are aware of the availability of

            the accessible features of the Website;




1
                     or similar.
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   D. An Order requiring Defendant, by a date certain, to provide ongoing

      support for web accessibility by implementing a Website accessibility

      coordinator, a Website application accessibility policy, and providing for

      Website accessibility feedback to ensure compliance thereto;

   E. An Order directing Defendant, by a date certain, to evaluate its policies,

      practices and procedures toward persons with disabilities, for such

      reasonable time to allow Defendant to undertake and complete corrective

      procedures to its Website;

   F. An Order directing Defendant, by a date certain, to establish a policy of

      web accessibility and accessibility features for the Website to ensure

      effective communication for individuals who are visually disabled;

   G. An Order requiring, by a date certain, that any third-party vendors who

      participate on Defendant’s Website to be fully accessible to the visually

      disabled;

   H. An Order directing Defendant, by a date certain and at least once yearly

      thereafter, to provide mandatory web accessibility training to all

      employees who write or develop programs or code for, or who publish

      final content to, the Website on how to conform all web content and

      services    with   ADA      accessibility    requirements    and   applicable

      accessibility guidelines;

   I. An Order directing Defendant, by a date certain and at least once every
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      three months thereafter, to conduct automated accessibility tests of the

      Website to identify any instances where the Website is no longer in

      conformance with the accessibility requirements of the ADA and any

      applicable accessibility guidelines, and further directing Defendant to

      send a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for

      review;

   J. An Order directing Defendant, by a date certain, to make publicly

      available and directly link from the Website homepage, a statement of

      Defendant’s Accessibility Policy to ensure the persons with disabilities

      have full and equal enjoyment of the Website and shall accompany the

      public policy statement with an accessible means of submitting

      accessibility questions and problems;

   K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses;
      and

   L. Such other and further relief as the Court deems just and equitable.




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DATED: December 28, 2024.



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